Case 2:03-cr-20327-STA Document 84 Filed 07/18/05 Page 1 of 2 Page|D 79

B f o.c.
IN THE UNITED sTATEs DISTRICT CoURT FIL€D -"`“
FoR THE wESTERN DISTRICT oF TENNESSEE L ` 8 w 22 \g

WESTERN DIVISION 05 JU
UNITED sTATEs oF AMERICA, W§§:‘Q§U M;§§gum
C§`qur\\ {`:C. x`§'-_ §{\.§'~_Y_i‘t ‘PF\§S
Plaintiff,
v. CR. No. 03-20327-3/1>
ToNY sEA,
Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion Requesting New Counsel filed on July 15, 2005.
This motion is referred to the United States Magistrate Judge for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections

f\
IT ls so 0RDERED this l¥ day Of Ju1y, 2005.

ith/aa

l\CLEBDANIEL BREEN \
hér_ELSTATES DISTRICT JUDGE

phance

Th'is document entered on the docket hhs/zell § com_,
h Rule 55 andl01'32tb} FF€GrP on j '1 2>

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UNITED sTATE DISTRIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:03-CR-20327 Was distributed by faX, mail, or direct printing on
July lS, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

